Case 1:24-cv-04578-MKB-TAM             Document 17        Filed 09/20/24      Page 1 of 1 PageID #:
                                             122




 VIA ECF                                       September 20, 2024
 Hon. Margo K. Brodie
 United States Courthouse
 225 Cadman Plaza East
 Brooklyn, NY 11201

        Re:     SEC v. Consensys Software Inc., 24-cv-4578 (E.D.N.Y.)

 Dear Chief Judge Brodie:

         Plaintiff Securities and Exchange Commission (“SEC”) respectfully notifies the Court of
 the decision yesterday in the related Texas matter, Consensys Software Inc. v. Gensler et al., 24-
 cv-369 (N.D. Tex.), granting the SEC’s motion to dismiss that case. A copy of that decision is
 attached hereto.

         On August 30, 2024, Defendant Consensys Software Inc.’s (“Consensys”) filed a pre-
 motion conference letter seeking to file a motion to dismiss this case or transfer it to the Northern
 District of Texas, solely on the basis that the Texas case took precedence under the “first-filed”
 rule. (Dkt. 14). On September 13, 2024, the Court ordered the parties to confer and file a
 proposed briefing schedule for this anticipated motion. But the decision dismissing the Texas
 matter renders Consensys’s anticipated motion here moot.

        Accordingly, the SEC intends to confer with Consensys to attempt to reach agreement on
 a proposed alternative schedule to litigate this matter.

                                               Respectfully submitted,


                                               /s/ Ben Kuruvilla
                                               Trial Counsel
                                               Division of Enforcement



 cc:    All Counsel of Record (via ECF)
